     Case 1:02-cr-00029-MP-GRJ           Document 86        Filed 02/02/07     Page 1 of 3


                                                                                           Page 1 of 3


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                            CASE NO. 1:02-cr-00029-MP-AK
                                                                       1:06-cr-00041-MP-AK
SHEILA GILLINS,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 17, Motion for Psychiatric Exam, and Doc. 18,

Motion to Continue Trial, in case number 1:06-cr-00041, and Doc. 84 in case number 1:02-cr-

00029, Motion to Continue Disposition. A hearing on these motions was held on Thursday,

February 1, 2007. At the hearing, Defendant Gillins moved for the Court to order a

psychological examination pursuant to 18 U.S.C. §§ 4241 and 4242 to determine Defendant’s

competency to stand trial and mental condition at the time of the charged offense. A court must

order a hearing to determine the mental competency of a defendant “if there is reasonable cause

to believe that the defendant may presently be suffering from a mental disease or defect

rendering him mentally incompetent to the extent that he is unable to understand the nature and

consequences of the proceedings against him or to assist properly in his defense.” 18 U.S.C. §

4241(a). Defendant asserts that her mental condition at the time of the offense forms the crux of

her defense, and that an evaluation is necessary to prepare an adequate defense. The

Government does not object. Therefore, Defendant’s motion is granted, a hearing on

Defendant’s competency to stand trial and mental condition shall be conducted pursuant to the

provisions of section 18 U.S.C. § 4247(d), a psychological examination of the Defendant shall be
      Case 1:02-cr-00029-MP-GRJ             Document 86        Filed 02/02/07      Page 2 of 3


                                                                                             Page 2 of 3


conducted by Dr. Harry Krop prior to the date of the hearing, and Dr. Krop shall file the

psychological report with the Court, with copies provided to Defendant’s counsel and to the

attorney for the Government, pursuant to the provisions of section 18 U.S.C. § 4247 (b) and (c).

        At the hearing, Defendant Gillins also requested a continuance in her trial, currently set

for February 6, 2007, so that she may be examined Dr. Krop and so that defense counsel can

review the psychological evidence report and investigate and prepare the appropriate defense

strategy. Defendant waives any speedy trial objection, and the Government does not object to

the continuance. Because trial is not appropriate until after the determination of Defendant’s

competency to stand trial, the motion is granted, and Defendant’s trial is continued to April 10,

2007, at 12:30 p.m.

        Finally, Defendant requested a continuance in her sentencing, currently scheduled for

February 21, 2007, in order for counsel to interview mitigation witnesses and for Dr. Krop to

conduct a psychological evaluation of Defendant. The Government does not object to the

motion. Therefore, after considering the matter, this motion is granted, and Defendant’s

sentencing date is reset to Wednesday, June 20, 2007, at 2:00 p.m. Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        1.       Defendant Gillins’ Motion for Psychiatric Exam, Doc. 17, is granted, and a
                 hearing to determine the mental competency of the Defendant in accordance with
                 section 18 U.S.C. § 4247(d) is scheduled for a date to be set by future order;

        2.       Pursuant to 18 U.S.C. § 4241(b), Defendant shall undergo a psychological
                 examination conducted by Dr. Harry Krop prior to the competency hearing, and
                 Dr. Krop shall prepare a psychological report and shall file it with the court, with
                 copies provided to the counsel for Defendant and to the attorney for the
                 Government, prior to the hearing, under the procedures set forth in 18 U.S.C. §
                 4247 (b) and (c). The report shall include:
                        a.      The Defendant’s history and present symptoms;
                        b.      A description of the psychiatric, psychological, and medical tests


Case No: 1:02-cr-00029-MP-AK
      Case 1:02-cr-00029-MP-GRJ            Document 86        Filed 02/02/07      Page 3 of 3


                                                                                           Page 3 of 3


                                that were employed and their results;
                          c.    The examiner’s findings; and
                          d.    The examiner’s opinions as to diagnosis, prognosis, and whether
                                Defendant is suffering from a mental disease or defect rendering
                                her mentally incompetent to the extent that she is unable to
                                understand the nature and consequences of the proceedings against
                                her or to assist properly in her defense;

        3.       Dr. Krop shall contact the warden of the Alachua County Detention Center, where
                 Defendant Gillins is presently incarcerated, to arrange the time and date of the
                 psychological examination;

        4.       Dr. Krop shall receive a fee of no less than $1,500.00 for the evaluation of
                 Defendant and the completion and filing of his report, and if Dr. Krop testifies at
                 the hearing, he shall receive an additional appearance fee of $350.00 per hour, for
                 no less than two hours work;

        5.       Defendant Gillins’ Motion to Continue Trial, Doc. 18 in Case No. 1:06-cr-00041,
                 is granted, and trial is continued to April 10, 2007, at 12:30 p.m.;

        6.       Defendant Gillins’ Motion to Continue Disposition, Doc. 84 in Case No. 1:02-cr-
                 00029, is granted, and Defendant’s sentencing is reset to Wednesday, June 20,
                 2007, at 2:00 p.m.


        DONE AND ORDERED this             2nd day of February, 2007

                                        s/Maurice M. Paul
                                   Maurice M. Paul, Senior District Judge




Case No: 1:02-cr-00029-MP-AK
